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                              UNITED STATES DISTRICT COURT
11                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                   OAKLAND DIVISION
12
13
      STATE OF CALIFORNIA, et al.,
14
                         Plaintiffs,
15                                                                  No. 4:19-cv-00872-HSG
             v.                                                     No. 4:19-cv-00892-HSG
16
      JOSEPH R. BIDEN, JR., et al.,                                 No. 4:20-cv-01494-HSG
17                                                                  No. 4:20-cv-01563-HSG
                         Defendants.
18                                                                  JOINT STATUS REPORT
      SIERRA CLUB, et al.,
19
20                       Plaintiffs,

21           v.
22    JOSEPH R. BIDEN, JR., et al.,
23                       Defendants.
24
25          In accordance with the Court’s Order of December 13, 2021, Plaintiffs and Defendants
26   submit the following joint status report addressing proceedings in the above-captioned cases.
27          The parties remain in active settlement discussions and request that the Court continue the
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                   California v. Biden, 4:19-cv-00872-HSG; 4:20-cv-01563-HSG – Joint Status Report
                  Sierra Club v. Biden, 4:19-cv-00892-HSG; 4:20-cv-01494-HSG – Joint Status Report
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 1   stay of these cases for 90 days. On November 19, 2021, Magistrate Judge Ryu conducted a five-
 2   hour settlement conference focused on the State Plaintiffs’ request for relief related to the
 3   diversion of Department of Defense funds for border wall construction and Defendants’ plans to
 4   remediate the impacts of prior border wall construction activities. Following the settlement
 5   conference, the parties exchanged additional information and letters at Judge Ryu’s request
 6   focused on Plaintiffs’ environmental settlement demands. On March 8, 2022, the parties submitted
 7   proposals to Judge Ryu recommending next steps in the settlement process. Judge Ryu has
 8   scheduled a video status conference for March 15, 2022, to discuss the parties’ proposals.
 9          The parties believe that their settlement discussions in these complex matters are
10   progressing forward in good faith. The parties agree that the interests of party and judicial
11   economy would be furthered by allowing the parties to continue these ongoing discussions with
12   the goal of reaching a mutually-agreeable resolution without the need for further litigation. The
13   parties propose to file another joint status report in 90 days.
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                   California v. Biden, 4:19-cv-00872-HSG; 4:20-cv-01563-HSG – Joint Status Report
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     DATE: March 14, 2022                               Respectfully submitted,
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